                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA                             )
     Plaintiff,                                      )
                                                     )
v.                                                   )      CASE NO. DNCW3:01CR151-3-T
                                                     )      (Financial Litigation Unit)
ERIC DARNELL MOSES,                                  )
      Defendant,                                     )
                                                     )
and                                                  )
                                                     )
FPL FOOD, LLC,                                       )
                              Garnishee.             )

                  ORDER OF WRIT OF CONTINUING GARNISHMENT

        THIS MATTER is before the Court on the answer of the FPL Food, LLC, as Garnishee. On

April 19, 2004, the Honorable Judge Lacy H. Thornburg sentenced the defendant to 99 months of

incarceration for his conviction of Armed bank robbery and aiding and abetting in violation of 18

U.S.C. § 2113(d) & 2 and for Using, carrying and brandishing a firearm during and in relation to a

bank robbery and aiding and abetting in violation of 18 U.S.C. § 924(c) & 2 . Judgment in the

criminal case was filed on May 5, 2004, (Docket No. 149). As part of that Judgment, the defendant

was ordered to pay an assessment of $300.00 and restitution of $19,654.00 to the victims of the

crime. Id.

        On December 21, 2011, the Court entered a Writ of Continuing Garnishment ("Writ") to

Garnishee, FPL Food, LLC, ("Garnishee"). The United States is entitled to a wage garnishment of

up to 25% of net income and has satisfied the prerequisites set forth in 15 U.S.C. §1673.   Defendant

was served with the writ of garnishment on January 17, 2012, and Garnishee was served on

December 20, 2011. Garnishee filed an Answer on December 22, 2011, stating that at the time of




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the service of the Writ, Garnishee had in their custody, control or possession property or funds

owned by the debtor, including non-exempt, disposable earnings.

       IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $15,077.22, computed through December 9, 2011. Garnishee will pay

the United States up to 25% of Defendant's net earnings which remain after all deductions required

by law have been withheld and 100% of all 1099 payments, and Garnishee will continue said

payments until the debt to the plaintiff is paid in full or until Garnishee no longer has custody,

possession or control of any property belonging to Defendant or until further Order of this court.

       Payments should be made payable to the United States Clerk of Court and mailed to the

Clerk of the United States District Court, 401 West Trade Street, Charlotte, NC 28202. In order to

ensure that each payment is credited properly, the following should be included on each check:

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       The plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset

Program. Under this program, any federal payment the defendant would normally receive may be

offset and applied to this debt.

                                                 Signed: April 6, 2012




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